           In the United States Court of Federal Claims
                                              )
 SPACE EXPLORATION                            )
 TECHNOLOGIES CORP.,                          )
                                              )
        Plaintiff,                            )               No. 19-742C
                                              )
 v.                                           )               Filed June 18, 2019
                                              )
 THE UNITED STATES,                           )
                                              )
        Defendant.                            )
                                              )
 v.                                           )
                                              )
 BLUE ORIGIN, LLC, et al.,                    )
                                              )
        Defendant-Intervenors.                )
                                              )

                                            ORDER

       On June 11, 2019, the government filed a motion for an enlargement of time until June
12, 2019, to file the administrative record in the above-captioned post-award bid protest matter in
CD-ROM format and to provide copies of the CD-ROM to counsel for plaintiff and for the
defendant-intervenors (docket entry no. 48). Counsel for the government represents that the
additional time is necessary due to technical difficulties while preparing the documents.

       In light of the foregoing, and for good cause shown, the Court GRANTS the
government’s motion for an enlargement of time.

       IT IS SO ORDERED.



                                                  s/ Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  Judge
